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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

        v.                                                                  DECISION AND ORDER
                                                                                08-CR-69S-12,4

JOSE MARTINEZ
RONIQUIKE E. MAISONET,

                        Defendants.


        1.      Presently before this Court is Defendant Jose Martinez’s “Motion to Dismiss

Indictment for Prosecutorial Misconduct before the Grand Jury and/or Outrageous

Governmental Conduct.” (Docket No. 209.)1 Defendant Maisonet has also joined this

motion. (Docket No. 212.) For the reasons that follow, the motion is denied.

        2.      Defendant Martinez is charged, along with ten co-defendants, by way of

Superseding Indictment, with knowingly, willfully, and unlawfully combining, conspiring, and

agreeing with others, known and unknown, to commit offenses against the United States,

that is, possessing with intent to distribute, and to distribute, 500 grams or more of a

mixture and substance containing cocaine, and manufacturing, possessing with intent to

distribute and to distribute, 50 grams or more of a mixture and substance containing

cocaine base, both Schedule II controlled substances in violation of Title 21 U.S.C. §§

841(a)(1), 841(b)(1)(A) and 841(b)(1)(B); all in violation of Title 21 U.S.C. § 846. Martinez

was not named in the original Indictment.


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          The Governm ent filed a response in opposition to Defendant’s m otion (Docket No. 211), and
Defendant subm itted a reply (Docket No. 218). Additionally, the Governm ent voluntarily subm itted the
transcripts before the Grand Jury involving the testim ony of Lieutenant John W . Runkle and one
unidentified witness. Both witnesses testified before the Grand Jury on June 10, 2008.

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       3.     Thereafter, Martinez filed the instant Motion to Dismiss the Superseding

Indictment. In his motion, Martinez contends that the government engaged in prosecutorial

misconduct before the Grand Jury warranting dismissal of the Superseding Indictment

against him. Martinez argues that the government prejudiced the Grand Jury by “poisoning

their minds” with misleading questions and the use of hearsay statements. He contends

that this alleged misconduct was the sole reason he was named in the Superseding

Indictment because “there is – there was no other evidence tying [him] to the – to any –

any conspiracy.” (Docket No. 207, Tr. 8, 12.)

       4.     Martinez cites five examples of the government’s alleged prosecutorial

misconduct. First, Martinez argues that he was unfairly prejudiced by the government’s

presentation of testimony implicating him in the murder of Quincy Turner. Second, he

argues that the government allowed Runkle to misleadingly testify about 12 phone calls

between Turner and a number allegedly used by Martinez, when in fact the calls were not

recorded, the speakers were not identified and the content of the conversation was

unknown. (Docket No. 209 ¶ 27.) Third, Martinez argues that he was prejudiced by

testimony that he sold Turner a car that was allegedly used in a drive-by shooting. (Docket

No. 209 ¶¶ 52-56; Docket No. 218 ¶ 6.) Fourth, he contends that one witness linked him

to the name “Rico Suave,” without any evidence supporting that connection. (Docket No.

218 ¶ 3.) Finally, Martinez argues that the government’s use of hearsay testimony before

the Grand Jury on June 10, 2008, constitutes misconduct. (Docket No. 209, ¶ 48; Docket

No. 218, ¶ 3.)

       5.     The Grand Jury’s purpose under the Fifth Amendment is to determine

whether indictments should issue. The Grand Jury is intended to operate independently

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of the Executive and Judicial branches. See United States v. Williams, 504 U.S. 36, 47-48,

112 S.Ct. 1735, 118 L.Ed.2d 352 (1992). “[T]o ensure a grand jury’s independence, a

district court has limited supervisory authority over the grand jury.” United States v.

Funderburk, 492 F. Supp. 2d 223, 260 (W.D.N.Y. 2007) (citing Williams, 504 U.S. at 46-

47).

       6.     Where appropriate, violations of the Fifth Amendment’s guarantee to an

independent and impartial Grand Jury may be remedied by dismissal of the Indictment.

In particular, “the Second Circuit has upheld the power of courts [] to dismiss an indictment

only in the case of extreme prosecutorial misconduct.” United States v. Urso, No. 03-CR-

1382, 2006 WL 681204, at *8 (E.D.N.Y. Mar. 16, 2006) (citing United States v. Hogan, 712

F.2d 757, 761-62 (2d Cir. 1983); United States v. Vetere, 663 F. Supp. 381, 386-87

(S.D.N.Y. 1987)).

       7.     To succeed on a Motion to Dismiss, the defendant must establish that the

errors alleged substantially influenced the Grand Jury’s decision to indict, or that there is

a “grave doubt” that the Grand Jury’s decision to indict was free from the substantial

influence of the alleged violations. Bank of Novia Scotia v. United States, 487 U.S. 250,

256, 108 S.Ct. 2369, 101 L.Ed.2d 228 (1988). The Indictment will not be dismissed if the

court concludes that any prosecutorial misconduct amounted to “harmless error.” United

States v. Williams, 504 U.S. 36, 64, 112 S.Ct. 1735, 118 L.Ed.2d 352 (1992) (concluding

that the “customary harmless-error inquiry is applicable where [] a court is asked to dismiss

an indictment prior to the conclusion of the trial”). The “remedy of dismissal has been

applied only in extreme circumstances.” James v. United States, No. 00-CV-8818, 2002

WL 1023146, at *12 (S.D.N.Y. May 20, 2002).

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       8.     Applying these principles, this Court finds that dismissal of the Superseding

Indictment is not warranted. Martinez has not demonstrated that the Grand Jury’s decision

to indict him was substantially influenced by the government’s alleged misconduct, nor has

Martinez demonstrated a “grave doubt” that the Grand Jury was not independent or

unbiased.

       9.     As an initial matter, this Court rejects Martinez’s argument that, absent the

allegedly prejudicial questions by the government about Turner’s homicide, Martinez would

not have been indicted because there is insufficient evidence tying him to the conspiracy.

This Court has reviewed the Grand Jury testimony at issue, and finds, on the basis of these

transcripts, that there is sufficient evidence tying Martinez to the conspiracy, evidence that

is untainted by Martinez’s allegations of misconduct. Moreover, this Court finds that the

testimony elicited concerning the Turner murder, calls between Turner and Martinez, the

sale of the car, and the identification of Martinez as “Rico Suave” was not unfairly

prejudicial and does not approach extreme prosecutorial misconduct. See Hogan, 712

F.2d at 761-62. But even assuming the existence of misconduct, this Court finds it

harmless in light of the other evidence of Martinez’s involvement in the conspiracy that the

government presented to the Grand Jury. See Williams, 504 U.S. at 64.

       10.    Further, to the extent Martinez’s argument can be construed as challenging

the sufficiency of the evidence, it is well settled that a Grand Jury’s Indictment cannot be

challenged on the ground that it is supported by inadequate or incompetent evidence. See

Costello v. United States, 350 U.S. 359, 363-64 (1956); cf Williams, 504 U.S. at 54 (“A

complaint about the quality or adequacy of the evidence can always be recast as a

complaint that the prosecutor’s presentation was incomplete or misleading). And as to

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Martinez’s argument that the government’s use of hearsay evidence requires dismissal,

this Court notes that “it is entirely permissible for the government to use hearsay evidence

in its presentation to the grand jury.” United States v. Ruggiero, 934 F.2d 440, 447 (2d Cir.

1991).2

        11.     Accordingly, for the reasons stated above, Defendant Jose Martinez’s Motion

to Dismiss the Superseding Indictment is denied.


Dated: January 3, 2010
       Buffalo, NY

                                                                       /s/William M. Skretny
                                                                       WILLIAM M. SKRETNY
                                                                              Chief Judge
                                                                       United States District Court




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          Although Ruggiero discussed two lim ited circum stances in which the use of hearsay evidence
m ay render an indictm ent invalid, Defendant does not address these exceptions. 934 U.S. at 447.
Rather, Defendant sim ply points out that the governm ent elicited hearsay testim ony without elaborating
how its use was im perm issible.

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